Case 1:22-mc-01617-MKB-TAM Document 13 Filed 08/16/22 Page 1 of 2 PageID #: 316




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 In re Application of FORENSIC NEWS LLC and                           22-mc-1617
                                                             Case No. ____________
 SCOTT STEDMAN for an Order Pursuant to 28
 U.S.C. § 1782 to Conduct Discovery for Use in a             ORDER
 Foreign Proceeding




        Upon consideration of the application submitted by Forensic News LLC and Scott

 Stedman (“Petitioners”) for an order pursuant to 28 U.S.C. § 1782 to conduct discovery for use

 in a foreign proceeding, and the accompanying memorandum of law, Declarations of Anne

 Champion, Patrick Doris, and Scott Stedman, and supporting documents,

        IT IS HEREBY ORDERED that:

    1. The application for discovery from Respondent Aviram Azari pursuant to 28 U.S.C.

        § 1782 is granted;

    2. Leave of court is granted pursuant to Federal Rule of Civil Procedure 30(a)(2)(B) to

        depose Respondent Azari, who is confined in prison;

    3. The Petitioners are authorized to take discovery relating to the issues identified in their

        application from Respondent Azari in accordance with the Federal Rules of Civil

        Procedure and the Rules of this Court, including by serving on Respondent Azari a

        subpoena duces tecum for a deposition and the production of documents listed in the

        form of the subpoenas attached as Exhibit 1 to the Declaration of Anne Champion;

    4. Respondent Azari is hereby directed to comply with the subpoenas in accordance with

        the Federal Rules of Civil Procedure and the Rules of this Court;
Case 1:22-mc-01617-MKB-TAM Document 13 Filed 08/16/22 Page 2 of 2 PageID #: 317




    5. Anne Champion of Gibson, Dunn & Crutcher LLP is hereby appointed to issue, sign, and

       serve the subpoenas upon Respondent Azari; and

    6. This Court shall retain such jurisdiction as is necessary to effectuate the terms of such

       subpoenas.



 Dated: Brooklyn, NY
        August 16, 2022                       SO ORDERED:




                                              TARYN A. MERKL
                                              United States Magistrate Judge




                                                 2
